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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 21-cr-179-RCL
               v.                              :
                                               :
RACHEL POWELL                                  :
                                               :
                       Defendant.              :

               THE GOVERNMENT’S REPONSE TO THE DEFENDANT’S
                      MOTION TO MODIFY CONDITIONS

       On September 23, 2021, the defendant, Rachel Powell, filed a motion under seal

requesting a modification to her pretrial release conditions. Specifically, the defendant requests

that she be allowed to move to a new residence, which is an apartment that is owed by her new

employer, at the same address as her work location.

       At this time, the government would request that prior to her move, the Pretrial Services

Agency be first permitted to conduct a home visit of the location.

       On September 23, 2021, the undersigned attorney spoke to Pretrial Services Officer

(“PSO”) Mara Williams, who is assigned to the defendant in the Western District of

Pennsylvania. PSO Williams informed the undersigned attorney that the defendant’s employer is

her significant other. The defendant is seeking to rent an apartment above her significant other’s

garage, which does not have a kitchen or shower. To use the kitchen or shower, the defendant

would presumably need to enter her significant other’s house, which is separate from the

garage/apartment. PSO Williams expressed concern that the defendant traveling to her

significant other’s house to cook or shower, at random times during the day and night, would be

difficult with her location monitoring, as the significant other’s house is outside the radius of the

defendant’s location monitoring.
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          Furthermore, PSO Williams stated that she previously conducted a video tour of the

location and that once the defendant left her significant other’s house and walked towards the

apartment, the cellular service was spotty.

          PSO Williams further told the undersigned attorney that she raised these issues with the

defendant, and once she did, the defendant offered to live inside of her significant other’s house

and rent a room. PSO Williams has not had an opportunity to visit the significant other’s house

either.

          PSO Williams further stated that as of right now, half of the officers in her office are

gone, leaving the office running at 50 percent capacity. PSO Williams estimates that she will try

to do a home visit in the next two weeks and provide further findings.



                                                 Respectfully submitted,

                                                 CHANNING D. PHILLIPS
                                                 Acting United States Attorney
                                                 DC Bar No. 415793

                                                 By:     /s/ Lucy Sun
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                                              Certificate of Service

       I hereby certify that on September 23, 2021, I caused a copy of the foregoing response to be served

on counsel of record via electronic filing.


                                                /s/ Lucy Sun
                                                LUCY SUN
                                                Assistant United States Attorney




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